Case 08-14631-GMB      Doc 147    Filed 04/14/08 Entered 04/14/08 14:06:51   Desc Main
                                 Document     Page 1 of 3




        Our File No.: 25804
        JOHN R. MORTON, JR.
        110 Marter Avenue
        Suite 301
        Moorestown, NJ 08057
        (856)866-0100
        Attorney for Jaguar Credit Corporation
        JM5630___________________________
                                                         UNITED STATES
                                                         BANKRUPTCY COURT FOR
                                                         THE DISTRICT OF NEW
                                                         JERSEY
        IN RE:
          SHAPES L.L.C.
                                                         CHAPTER 11
                                                         CASE NO: 08-14632(GMB)
                                                         HEARING DATE:

                                                         NOTICE OF MOTION OF
                                                         JAGUAR CREDIT
                                                         CORPORATION FOR
                                                         RELIEF FROM THE
                                                         AUTOMATIC STAY
                 To:
                        Shapes L.L.C.
                        9000 River Road
                        Delair, NJ 08110
                        Debtors

                        Jerrold N. Poslusny, Jr., Esq.
                        Liberty View, Suite 300
                        457 Haddonfield Road
                        Cherry Hill, NJ 08002
                        Attorney for the debtors

                        Office of the US Trustee
                        One Newark Center
                        Suite 2100
                        Newark, NJ 07102
                        Trustee




    CONTINUED
Case 08-14631-GMB      Doc 147   Filed 04/14/08 Entered 04/14/08 14:06:51                      Desc Main
                               Document      Page 2 of 3
         Michael D. Sirota, Esq.
         25 Main Street
         Hackensack, NJ 07601
         Attorney for the Official Joint Committee of Unsecured Creditors




                 John R. Morton, Jr., Esquire, attorney for Jaguar Credit Corporation, has filed

         papers with the Court for relief from the automatic stay to permit Jaguar Credit

         Corporation to repossess and sell the motor vehicle(s) described in the attached pleadings.

         Your rights may be affected. You should read these papers carefully and discuss

         them with your attorney, if you have one in this bankruptcy case. If you do not

         have an attorney, you may wish to consult with one. If you do not want the Court to

         grant the relief sought, or if you want the Court to consider your views on the motion, then

         no later than seven (7) days before the hearing date, you or your attorney must:

                 File with the Court a written request for a hearing (or, if the Court requires a

         written response, an answer, explaining your position) at:

                 United States Bankruptcy Court
                 1 John F. Gerry Plaza
                 4th. & Cooper Streets
                 Camden, NJ 08101


                 If you mail your (request) (response) to the Court for filing, you must mail it early

         enough so the Court will receive it on or before the date stated above.

                 You must also mail a copy to:

                 John R. Morton, Jr., Esquire
                 110 Marter Avenue, Suite 301
                 Moorestown, NJ 08057
Case 08-14631-GMB        Doc 147    Filed 04/14/08 Entered 04/14/08 14:06:51                  Desc Main
                                   Document     Page 3 of 3




                 TAKE FURTHER NOTICE that the facts movant relies upon, as set forth on the

         accompanying certification, and the basis for relief from the automatic stay, do not present

         complicated questions of fact or unique questions of law, it is hereby submitted that no

         brief is necessary in the Court’s consideration of the within Motion, and TAKE

         FURTHER NOTICE that oral argument is hereby not requested.



                 Attend the hearing scheduled to be held on                              at

         a.m. in Courtroom          , United States Bankruptcy Court, Mitchell Cohen Federal

         Court House, 1 John F. Gerry Plaza, 4th. & Cooper Streets, 4th. Floor, Camden, New

         Jersey 08102.

                 If you or your attorney do not take these steps, the Court may decide that you do

         not oppose the relief sought in the motion and may enter an order.



         Date:                                             /s/ John R. Morton, Jr., Esquire
                                                           John R. Morton, Jr., Esquire
                                                           Attorney for Jaguar Credit
                                                           Corporation
